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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF IOWA
(WESTERN DIVISION)

 

A.S., a Minor, by her Father and Mother and
Next Friends, DAN AND JANN
STRUTZENBERG, DAN STRUTZENBERG,
lndividually, and JANN STRUTZENBERG,
Individually,

Plaintiff,
v.
TREYNOR COMMUNITY SCHOOL
DISTRICT, TIM NAVARA, and KEVIN
ELWOOD,

Defendants.

 

Case No. 1:14-cv-35

STIPULATION OF DISMISSAL WITH
PREJUDICE

 

COME NOW the Plaintiffs, by and through their attorneys, and, in accordance With

Federal Rule of Civil Procedure 41(3), hereby Stipulate to a voluntary dismissal With prejudice of

this action. This Dismissal disposes of the case in its entirety.

ORIGINAL FILED

#2697694

/s/ Becky S. Knutson

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ATTORNEY FOR DEFENDANTS
TREYNOR COMMUNITY SCHOOL
DISTRICT AND TIl\/I NAVARA

 

 

PROOF OF SERVICE
The undersigned certifies that the foregoing instrument
Was served upon all parties to the above cause to each of
the attorneys of record herein at their respective
addresses disclosed on the pleadings on February 24,
2016 by:

|:| U.s. Mail |:] FAX
l:l Hand Delivered \:I Overnight Courier
\:\ Federal Express 13 Other: CM/ECF

Signature: /s/ Becky S. Knutson

 

